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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


KENDALL MEYERS,

               Plaintiff,

vs.                                                           No. 4:22-cv-00074-LPR

AUTODESK, INC.

               Defendant.


         DEFENDANT’S MOTION TO DISMISS FOR IMPROPER VENUE OR,
         ALTERNATIVELY, TO TRANSFER FOR FORUM NON CONVENIENS


       Defendant Autodesk, Inc. (hereinafter, “Autodesk” and/or “Defendant”) moves the Court

pursuant to Federal Rule of Civil Procedure 12(b)(3) to dismiss this action for lack of proper venue.

Alternatively, Defendant moves the Court to transfer this action to the United States District Court

for the Northern District of Georgia under the doctrine of forum non conveniens.

       Plaintiff, Kendall Myers (“Myers”) alleges a single count of race discrimination in

violation of Title VII of the Civil Rights Act of 1964. At all times relevant to his Complaint,

Plaintiff worked for Defendant Autodesk in Atlanta, Georgia. Defendant has no location in

Arkansas, maintains no records in Arkansas, and there is no connection between the allegations in

Plaintiff’s Complaint and Arkansas. Accordingly, venue is not proper in this Court and Plaintiff’s

Complaint should be dismissed. Alternatively, this action should be transferred to the United

States District Court for the Northern District of Georgia under the doctrine of forum non

conveniens because all witnesses and documents which would support or refute Plaintiff’s claims




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are located in Atlanta, Georgia, or in any event, outside of Arkansas, which has no connection at

all to the allegations raised in Plaintiff’s Complaint.

       Defendant has filed a memorandum of law and argument in support of its motion to dismiss

and incorporates it herein. Based on Defendant’s motion, memorandum, and the record as a whole,

Defendant respectfully moves the Court to dismiss Plaintiff’s Complaint or, alternatively, to

transfer this action to the United States District Court for the Northern District of Georgia.


Dated: May12, 2022.                                       Respectfully submitted,

                                                          M. Kimberly Hodges (AR Bar No. 2019018)
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                                                          ATTORNEY FOR DEFENDANT


                                  CERTIFICATE OF SERVICE
       I, the undersigned counsel, certify that I electronically filed the foregoing with the Clerk of

the Court using the ECF system which sent notification of such filing to all counsel of record on

this the 12th day of May, 2022.

                                                        M. Kimberly Hodges
                                                       (#2019018)




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